             08-12666-mg             Doc 12       Filed 07/22/08 Entered 07/22/08 08:44:08                             341Mtg
                                                 Chap11/Corporation Pg 1 of 2
B9F (Official Form 9F) (Chapter 11 Corporation/Partnership Asset Case) (12/07)                                    Case Number 08−12666−mg
                                     UNITED STATES BANKRUPTCY COURT
                                          Southern District of New York
      Notice of Chapter 11 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A chapter 11 bankruptcy case concerning the debtor listed below was filed on July 10, 2008.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in this case may be reviewed on the court's Electronic Case File System (ECF) using a PACER login and password at
www.nysb.uscourts.gov or at any of the three divisions of the court during posted business hours.
NOTE: The staff of the bankruptcy clerk's office and the U.S. trustee cannot give legal advice.
                                    See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Pace Product Solutions, Inc.
304 East 78th Street, Apt. 5F
New York, NY 10021
Case Number:                                                            Taxpayer ID/Employer ID/Other Nos.:
08−12666−mg                                                             20−3041414
Attorney for Debtor(s) (name and address):
Daniel M. Katzner
1025 Longwood Avenue
Bronx, NY 10459
Telephone number: (718) 589−3999
                                                       Meeting of Creditors
Date: August 20, 2008                                              Time: 02:30 PM
Location: Office of the United States Trustee, 80 Broad Street, Fourth Floor, New York, NY 10004−1408
Where, pursuant to 11 U.S.C. § 341(e), the Court has signed an order waiving the requirements of holding a § 341(a)
meeting of creditors, there will be no meeting scheduled and the above section will be blank. Please refer to the
reverse side of this document under "Meeting of Creditors" for more information.
                                             Deadlines to File a Proof of Claim
                         Proof of claim must be received by the bankruptcy clerk's office by the following deadline:
                                           Notice of deadline will be sent at a later time.

                                                  Creditor with a Foreign Address:
          A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                     Deadline to File a Complaint to Determine Dischargeability of Certain Debts:
                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                                             For the Court:
One Bowling Green                                                        Clerk of the Bankruptcy Court:
New York, NY 10004−1408                                                  Kathleen Farrell−Willoughby
Telephone number: 212−668−2870
Hours Open: Monday − Friday 8:30 AM − 5:00 PM                            Date: July 22, 2008
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                                                        EXPLANATIONS                                           B9F (Official Form 9F) (12/07)
Filing of Chapter 11   A bankruptcy case under Chapter 11 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case        court by or against the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 11 allows
                       a debtor to reorganize or liquidate pursuant to a plan. A plan is not effective unless confirmed by the court. You
                       may be sent a copy of the plan and a disclosure statement telling you about the plan, and you might have the
                       opportunity to vote on the plan. You will be sent notice of the date of the confirmation hearing, and you may object
                       to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor will remain
                       in possession of the debtor's property and may continue to operate any business.

Legal Advice           The staff of the bankruptcy clerk's office and the U.S. trustee cannot give legal advice. You may want to consult an
                       attorney to protect your rights.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code § 362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; and starting or continuing lawsuits or
                     foreclosures. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor
                     can request the court to extend or impose a stay.

Meeting of Creditors   A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor's
                       representative must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                       are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                       without further notice. The court, after notice and a hearing, may order that the United States trustee not convene
                       the meeting if the debtor has filed a plan for which the debtor solicited acceptances before filing the case.

Claims                 A Proof of Claim is a signed statement describing a creditor's claim. If a Proof of Claim form is not included with
                       this notice, you can obtain one at any bankruptcy clerk's office or online at www.uscourts.gov/bkforms. You may
                       look at the schedules that have been or will be filed at the bankruptcy clerk's office or online with a PACER login
                       and password at www.nysb.uscourts.gov. If your claim is scheduled and is not listed as disputed, contingent, or
                       unliquidated, it will be allowed in the amount scheduled unless you filed a Proof of Claim or you are sent further
                       notice about the claim. Whether or not your claim is scheduled, you are permitted to file a Proof of Claim. If your
                       claim is not listed at all or if your claim is listed as disputed, contingent, or unliquidated, then you must file a Proof
                       of Claim or you might not be paid any money on your claim and may be unable to vote on the plan. The court has
                       not yet set a deadline to file a Proof of Claim. If a deadline is set, you will be sent another notice. A secured
                       creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. Filing a Proof of
                       Claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                       example, a secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the
                       right to a jury trial. Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set
                       forth on the front of this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign
                       address, the creditor may file a motion requesting the court to extend the deadline.

Discharge of Debts     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                       See Bankruptcy Code § 1141(d). A discharge means that you may never try to collect the debt from the debtor,
                       except as provided in the plan. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code
                       § 1141(d)(6)(A), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to
                       File a Complaint to Determine Dischargeability of Certain Debts" listed on the front side. The bankruptcy clerk's
                       office must receive the complaint and any required filing fee by that Deadline.

Bankruptcy Clerk's     Any paper that you file in this bankruptcy case should be filed on the court's Electronic Case File System (ECF)
Office                 using an attorney's login and password issued by the court or on a diskette or compact disk (CD) in PDF format. If
                       you are unable to file electronically or to submit a copy of your filing on diskette or compact disk (CD), you may
                       file conventionally, provided that you submit with your filing an affidavit of your inability to comply.

Creditor with a        Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address        case.

                       −− Refer to Other Side for Important Deadlines and Notices −−
